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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

Brianna Boe, et al.,                   )
                                       )
       Plaintiffs,                     )
                                       )
and                                    )
                                       )
United States of America,              )
                                       )
       Plaintiff-Intervenor,           )
                                       )
v.                                     )   No. 2:22-cv-00184-LCB-CWB
                                       )
Hon. Steve Marshall, in his official   )
capacity as Attorney General of the    )   REDACTED COPY;
State of Alabama, et al.,              )   ORIGINAL SUBMITTED
                                       )   UNDER SEAL
       Defendants.                     )

PLAINTIFF-INTERVENOR UNITED STATES OF AMERICA’S BRIEF IN
 SUPPORT OF ITS MOTION TO EXCLUDE CERTAIN TESTIMONY BY
     DOCTORS JAMES CANTOR, FARR CURLIN, PAUL HRUZ,
 KRISTOPHER KALIEBE, MICHAEL LAIDLAW, PATRICK LAPPERT,
           GEETA NANGIA, AND ANGELA THOMPSON
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                                 INTRODUCTION

      This Court should exclude certain testimony by Defendants’ experts,

including opinions that exceed the scope of the witness’ expertise, improperly

opine on motive or intent, lack an adequate factual basis, or pertain to topics not at

issue in this case. Each of Defendants’ experts seek to opine on issues beyond their

areas of expertise. They also offer opinions irrelevant to issues remaining in this

case, including opinions about surgery, an intervention that is not part of the claims

alleged by Private Plaintiffs or the United States. Furthermore, opinions about the

intent or motive of the World Professional Association for Transgender Health

(“WPATH”) and the U.S. Department of Health and Human Services (“HHS”) are

so methodologically unreliable that they are not admissible. Among other defects,

these opinions merely repeat hearsay without applying any particular methodology

or expertise and rely on grossly inadequate factual bases.

      For similar reasons, district courts in Georgia, Florida, and North Carolina

have excluded or limited the testimony of several of Defendants’ experts. See Koe

v. Noggle, 688 F. Supp. 3d 1321, 1336 n.11, 1351 n.26, 1352 n.28 (N.D. Ga. 2023)

(doubting Dr. Hruz’s objectivity, giving some of Dr. Cantor’s views “less weight,”

and finding certain opinions by Dr. Laidlaw to be unreliable); Brandt v. Rutledge,

677 F. Supp. 3d 877, 914-16 (E.D. Ark. 2023) (finding that Drs. Hruz and Lappert

“were unqualified to offer relevant expert testimony and offered unreliable


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testimony”); Doe v. Ladapo, 676 F. Supp. 3d 1205, 1211 n.8, n.9 (N.D. Fla. 2023)

(casting doubt on qualifications of Dr. Lappert and not crediting Dr. Hruz); Doe v.

Ladapo, No. 4:23cv114-RH-MAF, 2024 WL 2947123 at *13 n.19 (N.D. Fla. June

11, 2024) (finding that Drs. Laidlaw, Hruz, and Lappert “testified not based on

their professional expertise but based on their ideology” and “have little or no

experience treating transgender patients and no specialized training in the field”);1

Kadel v. Folwell, 620 F. Supp. 3d 339, 363-65, 368-69 (M.D.N.C. 2022), aff’d 100

F.4th 122 (4th Cir. 2024) (en banc) (limiting the testimony of Drs. Hruz and

Lappert).

       This Court should do the same. And indeed, this Court already determined

that the opinions of Dr. Cantor should be afforded very little weight. Eknes-Tucker

v. Marshall, 603 F. Supp. 3d 1131, 1143 (M.D. Ala. 2022), rev’d on other

grounds, 80 F.4th 1205 (11th Cir. 2023).

       Excluding opinions by experts that exceed their qualifications, use unreliable

methodology, and rely on insufficient information to render a reliable opinion will

ensure that the trial is informed by competent testimony. The Court should grant

the United States’ motion to streamline the presentation of evidence at trial.




1
 The court did not identify these experts by name in the opinion, but cited to the testimonies of
Drs. Laidlaw, Hruz, and Lappert from the preliminary injunction hearing and trial of Dekker v.
Weida, No. 4:22-cv-325 (N.D. Fla. May 22, 2023), ECF Nos. 62 at 40 (Dr. Laidlaw), 238 at 193-
95 (Dr. Hruz), and 239 at 129-31 (Dr. Lappert).

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                                     BACKGROUND

       The United States filed a complaint in intervention in this case asserting that

the Alabama Vulnerable Child Compassion and Protection Act, Ala. Code §§ 26-

26-1 to -9 (2022) (“S.B. 184”) violates the Equal Protection Clause of the

Fourteenth Amendment. Am. Compl. In Intervention, ECF No. 92. S.B. 184 makes

it a felony to “engage in or cause” certain gender-affirming procedures and

treatments for transgender minors, while allowing other minors to receive the same

procedures and treatments. Ala. Code §§ 26-26-4.

       This Court previously granted Private Plaintiffs’ and the United States’

motions for a preliminary injunction barring the enforcement of S.B. 184 after a

three-day hearing. Eknes-Tucker, 603 F. Supp. 3d 1131. Plaintiffs and the United

States collectively offered three experts with expertise and experience in treating

adolescents with gender dysphoria. Id. at 1141-43; Eknes-Tucker v. Gov. of Ala.,

80 F.4th 1205, 1215-17 (11th Cir. 2023). The United States also offered as

additional support “various organizations’ medical policy statements and

guidelines,” including a set of clinical guidelines referred to as the “Standards of

Care” (“SOC-7”) developed by WPATH. Eknes-Tucker, 80 F.4th at 1216-17.2 In

granting the preliminary injunction, this Court found that S.B. 184 makes a sex-



2
  After the preliminary injunction hearing, WPATH issued its Standards of Care, Version 8
(“SOC-8”).

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based classification and that the law could not survive heightened scrutiny. Eknes-

Tucker, 603 F. Supp. 3d at 1146-48, 1151. The Eleventh Circuit vacated that

decision, holding that the law should instead be judged under a rational basis

standard “unless the regulation were a pretext for invidious discrimination against”

transgender individuals. Eknes-Tucker, 80 F.4th at 1229-30.

       Now, Defendants seek to offer opinions of eight experts to support their

purported justifications for S.B. 184. See Defs.’ Mot. Summ. J. Br. Supp., ECF No.

561 (citing to experts’ reports as support). Alabama’s eight experts collectively

offer 15 reports offering wide-ranging and overlapping opinions regarding the

efficacy, risks, and ethics of providing gender-affirming care to minors.

                                   LEGAL STANDARD

       Trial courts perform a critical gatekeeping function in assessing whether

expert testimony is admissible. United States v. Frazier, 387 F.3d 1244, 1260 (11th

Cir. 2004) (en banc).3 To fulfill its gatekeeping role, a court must apply a three-part

test to determine whether proffered expert testimony is admissible under Federal

Rule of Evidence 702: (1) whether the expert is qualified to competently testify as



3
  Though somewhat relaxed, this gatekeeping role still applies in bench trials. See, e.g., United
States v. Brown, 415 F.3d 1257, 1268-70 (11th Cir. 2005) (noting that the concern about
“dumping a barrage of questionable scientific evidence on a jury” is not present in a bench trial
before assessing whether the district court abused its discretion in admitting certain expert
testimony in a bench trial); Seaboard Lumber Co. v. United States, 308 F.3d 1283, 1302 (Fed.
Cir. 2002) (stating that in a bench trial “the Daubert standards of relevance and reliability for
scientific evidence must nevertheless be met.”).

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to the matters they intend to address (the “qualifications” prong); (2) whether the

expert’s methodology is sufficiently reliable under Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (U.S. 1993) (the “reliability” prong); and

(3) whether the expert’s testimony will help the factfinder understand the evidence

or determine a fact in issue (the “helpfulness” prong). Id. The proponent of expert

testimony bears the burden of establishing that the proffered testimony meets each

of these requirements. Id.

      Under the first prong, the proponent bears the burden to show that the expert

“is qualified to testify competently regarding the matters he intends to address.” Id.

at 1260. An expert may be qualified by “knowledge, skill, experience, training or

education.” Fed. R. Evid. 702. “Expertise in one field does not qualify a witness to

testify about others.” Lebron v. Sec’y of Fla. Dep’t of Child. & Fams., 772 F.3d

1352, 1368-69 (11th Cir. 2014) (affirming trial court’s exclusion of expert who

sought to offer opinions “in an area that he did not otherwise specialize in” and that

he developed “expressly for purposes of testifying”).

      With regard to the reliability requirement, courts assess “(1) whether the

expert’s theory can be and has been tested; (2) whether the theory has been

subjected to peer review and publication; (3) the known or potential rate of error of

the particular scientific technique; and (4) whether the technique is generally

accepted in the scientific community.” Frazier, 387 F.3d at 1262. “These factors


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are illustrative, not exhaustive; not all of them will apply in every case, and in

some cases other factors will be equally important in evaluating the reliability of

proffered expert opinion.” Id.

      Finally, expert opinion is unhelpful if it does not “help the trier of fact to

understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a). “By

this requirement, expert testimony is admissible if it concerns matters that are

beyond the understanding of the average lay person.” Frazier, 387 F.3d at 1262.

“Proffered expert testimony generally will not help the trier of fact when it offers

nothing more than what lawyers for the parties can argue in closing arguments.” Id.

at 1262-63.

                                    ARGUMENT

      This Court should preclude Defendants’ proffered experts from testifying in

several respects. At the outset, any expert opinion about adverse consequences of

gender-affirming surgery is irrelevant and therefore unhelpful to the trier of fact

because Plaintiffs are not challenging Alabama’s prohibition on surgical

interventions. Further, there are independent grounds to limit the scope of each of

Defendants’ expert witnesses’ proffered testimony. As detailed below, each of

Defendants’ experts intends to testify regarding subject matter they are unqualified

to opine on because it lies outside their limited area of expertise. In addition, this

Court should preclude the experts from testifying about the alleged intent or


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motivations of WPATH and HHS because their opinions are both unsupported by

any reliable methodology and unhelpful to the trier of fact. Finally, Defendants’

experts cannot testify about the adequacy of Private Plaintiffs’ medical treatment

because they did not rely upon sufficient facts or data to render a reliable opinion,

as they never spoke to any Private Plaintiff or any of their treating healthcare

providers.

I.     Expert Opinions About Gender-Affirming Surgery Are Irrelevant and
       Unhelpful, and Should be Excluded Because Plaintiffs Are Not
       Challenging S.B. 184’s Prohibition on Surgery.

       Because Alabama’s prohibition on gender-affirming surgery is not at issue

in this case, the Court should exclude as irrelevant any opinion testimony about the

ethics of surgical interventions, the potential adverse consequences of surgery, or

the sufficiency of the scientific evidence supporting surgery as a treatment for

gender dysphoria. Such opinions are unhelpful because they “do[] not relate to any

issue in the case.” Quiet Tech. DC-8 v. Hurel-Dubois UK Ltd., 326 F.3d 1333,

1347 (11th Cir. 2003). Section 4 of S.B. 184 prohibits a range of gender-affirming

medical interventions, including surgeries that “sterilize” or “artificially construct

tissue with the appearance of genitalia that differs from the individual’s sex.” Ala.

Code §§ 26-26-4(a)(4)-(6). But, as recognized by this Court at the preliminary

injunction hearing and subsequently by Defendants themselves, Plaintiffs are not

challenging S.B. 184’s prohibitions on surgical interventions. May 4, 2022 Mot.


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Hr’g Tr., ECF No. 103 at 40:2-9 (acknowledgement by Plaintiffs’ counsel), 65:2-5

(acknowledgement by Defendants’ counsel); Eknes-Tucker, 80 F.4th at 1215

(“Plaintiffs represented that they were no longer challenging the portions of section

4 that ban surgical intervention, i.e., subsections (a)(4)-(6)”). Nonetheless, four of

Defendants’ experts opine on issues related to surgery: Dr. Hruz (U.S. Ex. 6 ¶ 131

(discussing “flaws” in studies supporting gender-affirming care, some of which

relate to surgery)); Dr. Laidlaw (U.S. Ex. 12 ¶¶ 160-175, 228-35)); Dr. Lappert

(U.S. Ex. 16 ¶¶ 35-62 (discussing “Characteristics of Gender Affirmation

Surgeries”)); and Dr. Nangia (U.S. Ex. 18 ¶¶ 154-62 (discussing her views

regarding consent, including for surgical transition for minors)). Any expert

testimony about the potential harms, ethics, or the evidentiary basis of gender-

affirming surgery are irrelevant to Plaintiffs’ claims or any defenses to those

claims and should be excluded as unhelpful.

II.     This Court Should Exclude Dr. Cantor’s Testimony Regarding
        Pediatrics, Endocrinology, or the Development of WPATH’s Clinical
        Guidelines Because They Exceed the Scope of His Expertise or Are
        Improper Motive Opinions that Are Not the Product of a Reliable
        Methodology.

        This Court should exclude Dr. Cantor’s proffered opinions regarding child

psychiatry, endocrinology, and the development of the clinical guidelines for

treating gender dysphoria in pediatric patients for two main reasons. First, Dr.

Cantor is not qualified to opine on these subjects because he is a clinical


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psychologist who primarily treats adults. Second, his opinions on the development

of WPATH’s clinical guidelines are unreliable and unhelpful because they are not

the product of any reliable methodology and are opinions about motive or intent.

      A. Dr. Cantor is Not Qualified to Opine on Pediatrics, Endocrinology, or
         the Development of Clinical Guidelines Because He Is a Clinical
         Psychologist Who Primarily Treats Adults.

      Dr. Cantor seeks to opine on many matters beyond the scope of his limited

expertise in adult psychology. Dr. Cantor is not a medical doctor, U.S. Ex. 2 19:20-

25, does not prescribe medications, id. 20:13-15, and does not treat patients under

the age of 16, id.13: 3-7; 44:11-12. He is a clinical psychologist whose patients are

typically 30-35 years old, id. 13:8-13, and he makes no “income from the

assessment or clinical treatment of children . . . . ,” id. 44:11-12. Nonetheless, he

seeks to opine on medical care that he has never provided. U.S. Ex. 1 ¶¶ 59-93 and

156-238 (opining on the quality of evidence supporting such medical care), 94-104

and 239-58 (opining on the development of clinical guidelines for medical care he

has never provided), 156-164 (discussing evidentiary support for medical care he

has never provided); U.S. Ex. 3 ¶¶ 96-120 (discussing the development of

WPATH’s clinical guidelines for providing medical care he has never provided).

Dr. Cantor’s experience as a clinical psychologist treating adult patients does not

qualify him as an expert about matters beyond adult psychology. See Lebron, 772

F.3d at 1368-69 (affirming trial court’s decision to exclude expert who sought to


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offer opinions “in an area that he did not otherwise specialize in” and that he

developed “expressly for purposes of testifying”); Koe, 588 F. Supp. 3d at 1352

n.28 (giving little weight to Dr. Cantor’s opinions about “the medical conclusions

that can reasonably be drawn from the evidence for the treatment of gender

dysphoria in minors” because he “is not a physician and has no experience treating

gender dysphoria in youth as such.”). The Court should preclude Dr. Cantor from

providing testimony that exceeds his expertise.

      B. Dr. Cantor’s Opinions About WPATH Include Improper Motive
         Opinion and Are Not the Product of Any Reliable Methodology.

      Dr. Cantor’s opinions based on WPATH’s internal documents in Appendix

A of the Cantor Supplemental Report, U.S. Ex. 24, are not the product of any

particular methodology and are improper intent or motive opinions. Appendix A

largely consists of reproductions of emails and other documents obtained in

discovery in this case along with a narrative summary by Dr. Cantor. E.g., U.S. Ex.

24 ¶¶ 121-131, 134. 136-39, 141, 145-46, 150-52. Appendix A to Dr. Cantor’s

supplemental report does not identify any particular methodology that Dr. Cantor

applies to these documents, and it appears to serve merely as a conduit for hearsay.

See, e.g., Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013) (“[A]

party cannot call an expert simply as a conduit for introducing hearsay under the

guise that the testifying expert used the hearsay as the basis of his testimony.”)

(Quoting Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 666

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(S.D.N.Y.)). To the extent Appendix A offers any opinions, they are not based on

Dr. Cantor’s expertise and are merely his personal views of individuals’ intent,

motivations, or state of mind. E.g., U.S. Ex. 24 ¶¶ 133 (“Members of the WPATH

Guideline Development Group [took actions] for the purposes of influencing

courts and legislatures”), 135 (“we see these committee members working to

further their own work”), 138 (“Dr. Rachel Levine strongly pressured WPATH . . .

in order to assist with Administration political strategy”). Such opinions about

“intent, state of mind, or motivations” are “outside the bounds of appropriate

expert testimony.” Tillman v. C.R. Bard. Inc., 96 F. Supp. 3d 1307, 1326 (M.D.

Fla. 2015). Because Dr. Cantor’s opinions about WPATH and HHS are not the

product of any methodology and are outside the bounds of appropriate expert

opinion, the Court should not allow him to act as a mere conduit for hearsay to

repeat and summarize emails and documents that, if admissible, could be

competently interpreted by the factfinder without expert testimony.

III.     This Court Should Exclude Dr. Curlin’s Opinions on Gender-Affirming
         Care for Minors or the Ability of Minors to Consent to Such Care
         Because He Is an Internist Who Treats Only Adult Patients and Thus Is
         Not Qualified to Render Such Opinions.

         Dr. Curlin seeks to offer opinions about gender-affirming care for minors

without any qualifying expertise. Dr. Curlin’s experience as an internist who treats

adult patients does not qualify him to testify about pediatrics or pediatric

subspecialties, subjects which are outside of his practice area. See, e.g., Moore v.

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Intuitive Surgical, Inc., 995 F.3d 839, 857 (11th Cir. 2021) (stating that a

gynecologist would be unqualified to testify regarding open-heart surgery or brain

operation); Lebron, 772 F.3d at 1368-69. Dr. Curlin concedes that he does not

practice pediatric medicine and has never prescribed puberty blockers or cross-sex

hormones to someone with a diagnosis of gender dysphoria. U.S. Ex. 5 54:19-20,

58:8-15, 155:5-9. Nonetheless, much of Dr. Curlin’s report opines on the benefits

and risks of gender-affirming care. E.g., U.S. Ex. 4 ¶¶ 14-17, 20-36, 38-39, 42, 66-

67, 77. Dr. Curlin has some expertise in the ethics of palliative care and the

influence of religion on the practice of medicine, with peer reviewed publications

like “Can physicians’ care be neutral regarding religion,” and “Holy

transgressions: Breaching the wall between public religion and patient care.” U.S.

Ex. 4 App’x B at 12-21. But this limited expertise does not extend to the ethics of

providing gender-affirming care, a central aspect of his report. E.g., U.S. Ex. 4 at

47-69 (discussing the “application of principles of medical ethics” to gender

affirming care), 70-96 (opining on the “possibility of meaningful informed

consent” for gender affirming care). In fact, he could only recall one ethical consult

for a person with gender dysphoria—he was “peripherally . . . involved” in that

case and consulted “regarding palliative medicine needs . . . .” U.S. Ex. 5 55:1-15,

57:4-9, 58:1-15, 64:16-19, 66:20-67:20.




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      Dr. Curlin’s lack of expertise regarding gender-affirming care is confirmed

by his extensive reliance on other experts to support his conclusions. See generally

id. (citing Drs. Cantor and Laidlaw throughout); see also id. ¶ 14-15 (identifying

“the opinions offered by Drs. Cantor and Laidlaw” as the bases for opinions about

the benefits and harms of gender-affirming care). Experts may not “simply repeat

or adopt the findings of another expert without attempting to assess the validity of

the opinions relied upon.” In re Polypropylene Carpet Antitrust Litig., 93 F. Supp.

2d 1348, 1357 (N.D. Ga. 2000); see also Am. Key Corp. v. Cole Nat’l Corp., 762

F.2d 1569, 1580 (11th Cir. 1985) (“[e]xpert opinions ordinarily cannot be based

upon the opinions of others whether those opinions are in evidence or not.”). Here,

Dr. Curlin rests his opinions on those of Drs. Cantor and Laidlaw without

performing any independent assessment of the evidence they relied upon. U.S. Ex.

5 105:20-106:12, 135:14-19, 107:3-11, 121:20-122:3, 178:13-18. He did not read

the underlying studies that Drs. Cantor and Laidlaw relied upon, and instead bases

his opinions on the descriptions Drs. Cantor and Laidlaw provided in their reports.

Id. 104:18-105:14; 122:19-123:7; 123:20-124:2; 186:8-16; 187:9-13, 103:8-15,

108:19-109:13.

      The Court should exclude Dr. Curlin’s opinions because they exceed his

expertise. In the absence of relevant expertise, it appears that Dr. Curlin is offering

his strongly held personal moral judgments instead of ethical opinions formed


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through the application of expertise. E.g., id. 66:3-12 (stating that gender-affirming

treatments “contradict Christian values”). As the Ladapo court recently stated

about other experts, it appears Dr. Curlin is testifying “not based on [his]

professional expertise but based on [his] ideology.” Ladapo, 2024 WL 2947123 at

*13 n.19. Given the absence of relevant expertise, the Court should exclude Dr.

Curlin’s opinions in their entirety.

IV.     This Court Should Exclude Dr. Hruz’s Opinions Regarding Gender
        Dysphoria and His Opinions About Plaintiffs’ Medical Treatment.

        Dr. Hruz, although a pediatric endocrinologist, is unqualified to testify

regarding the diagnosis and treatment of gender dysphoria in pediatric patients

because of his lack of relevant experience or training. In addition, his proffered

opinions regarding Private Plaintiffs’ medical treatment should be excluded

because they are not based on sufficient facts or data to be reliable.

        A. Dr. Hruz, as a Pediatric Endocrinologist Who Has Never Diagnosed
           or Treated Gender Dysphoria, Is Not Qualified to Opine on Issues
           Related to the Diagnosis and Treatment of Gender Dysphoria.

        Dr. Hruz is not qualified to opine about the diagnosis and treatment of

gender dysphoria because he has never diagnosed or treated it. See Brandt, 677 F.

Supp. 3d at 914-16 (Hruz was “unqualified to offer relevant expert testimony and

offered unreliable testimony”); Ladapo, 676 F. Supp. 3d at 1211 n.8 (“Dr.

Hruz . . . generally testified as a deeply biased advocate, not as an expert sharing

relevant evidence-based information and opinions. I do not credit his testimony.”);

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Noggle, 688 F. Supp. 3d at 1336 n.11 (finding that Dr. Hruz’s previous statements

“cast[] doubt on the objectivity of [his] testimony”). Dr. Hruz has never made a

diagnosis of gender dysphoria, U.S. Ex. 7 67:7-9, but he opines on the subject. See

U.S. Ex. 6 ¶¶ 55-58 (“Diagnosis”). He has never provided gender-affirming care to

any transgender person, including prescribing puberty blockers or cross-sex

hormones, U.S. Ex. 7 79:17-80:19; U.S. Ex. 6 ¶ 154, but opines on treatments for

gender dysphoria as a general matter, U.S. Ex. 6 ¶¶ 59-93, and opines on Private

Plaintiffs’ specific treatments. U.S. Ex. 8. He also offers opinions about the ethical

implications of gender dysphoria treatment he has never performed. U.S. Ex. 6, ¶¶

106-118. As the Kadel court recognized, Dr. Hruz is “not qualified to offer expert

opinions on the diagnosis of gender dysphoria, the [Diagnostic and Statistical

Manual of Mental Disorders (“DSM”)], gender dysphoria’s potential causes, the

likelihood that a patient will ‘desist,’ or the efficacy of mental health treatments.”

620 F. Supp. 3d at 364. This Court should exclude any opinions by Dr. Hruz about

the diagnosis and treatment of gender dysphoria, including the ethical implications

of such treatment.

      B. Dr. Hruz’s Opinions About the Treatment of Plaintiffs in His
         Supplemental Report Lack an Adequate Factual Basis.

      The opinions included in Dr. Hruz’s six-page supplemental report about the

treatment of plaintiffs are not “based on sufficient facts or data” as required by

Fed. R. Evid. 702(b), because he never spoke with plaintiffs or their healthcare

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providers. In his supplemental report, Dr. Hruz offers observations about the

Private Plaintiffs’ medical records that were available to him, though he has never

met the “plaintiffs in this case, their parents, or any of the medical personnel

involved in their medical care.” U.S. Ex. 8 ¶ 1. Dr. Hruz acknowledges that

because of these limitations he cannot “make any assessment on the veracity of

psychiatric diagnoses and outcome reports.” Id. Most of his report simply restates

the medical records, but the portions that opine on the Private Plaintiffs’ treatment

are unreliable. Dr. Hruz opines that the “relative paucity of documented discussion

of known and potential medical complications . . . further substantiates my

opinions related to relative risk.” Id. ¶ 9. A physician’s review of medical records

without examining a patient, interviewing that patient, or speaking with the

patient’s treating physician may be an insufficient basis for the specific opinion the

physician offers. E.g., Cooper v. Smith Nephew, Inc., 259 F.3d 194, 203 (4th Cir.

2001) (affirming district court’s exclusion of physician’s opinion formed without a

physical examination or interviewing the patient); Haller v. AstraZeneca

Pharmaceuticals, LP, 598 F. Supp. 2d 1271, 1294-95 (M.D. Fla. 2009) (excluding

physician’s opinion based only on the review of medical records); Hamilton v.

Louisville Cartage Co., Civil Action No. 5:23-cv-00241-TES, 2024 WL 2303889,

at *5 (M.D. Ga. May 21, 2024) (excluding physician’s testimony about damages

when the physician “neither spoke with nor received any information from any of


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Plaintiff’s treating physicians”). In this case, without interviewing the patient

and/or the treating professional, it is impossible for Dr. Hruz to know whether the

discussions of potential complications are not documented because they did not

happen or happened but were not documented. Thus his review of medical records

alone is not a sufficient basis for the opinions he seeks to offer.

V.     This Court Should Exclude Dr. Kaliebe’s Opinions Regarding His
       “Social Contagion” Hypothesis, His Personal Views on the Perceived
       Politicization of Gender-Affirming Care, or the Motives of WPATH and
       HHS.

       Dr. Kaliebe is not qualified to offer opinions on subjects such as his theories

regarding the spread of gender dysphoria or that the clinical guidelines regarding

gender-affirming care are informed by partisan politics instead of medicine

because he has limited experience diagnosing or treating gender dysphoria. In

addition, his opinions regarding the motives of WPATH and HHS are unhelpful.

       A. Dr. Kaliebe Is Not Qualified to Offer His “Social Contagion”
          Hypothesis or His Personal Views About the “Politicization” of
          Gender-Affirming Care Because He Has Minimal Experience With
          Gender Dysphoria And Does Not Provide Gender-Affirming Care.

       Dr. Kaliebe’s opinions that gender dysphoria has been spread through

“social contagion” via the Internet and that medical associations’ approaches to

gender-affirming care have been “politicized” are beyond the scope of his limited

expertise with gender dysphoria, and are not otherwise supported. See U.S. Ex. 9

¶¶ 26-55 (discussing “social contagion” theory), 81-174 (discussing perceived


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“politicization” of medical care). Dr. Kaliebe opines that “the dramatic rise in

minors presenting with gender dysphoria may be attributable to technologically

induced contagion effects,” and that “ideological and social factors underlie much

of the recent increase in gender dysphoria in adolescents.” U.S. Ex. 9 ¶¶ 42, 55. He

likens the impact of social media on gender dysphoria to the ways that technology

“has aided the spread of suicide contagion” or eating disorders such as anorexia.

Id. ¶ 39. He also opines that medical associations’ approaches to gender-affirming

care have been “politicized” and are therefore suspect, U.S. Ex. 9 ¶¶ 81-174. In

particular, he opines that WPATH’s methodology to create SOC-8 was unsound

because WPATH prioritized enforcing its “advocacy position.” Id. ¶¶ 112-23.

While an expert may sometimes testify relying “solely or primarily on experience,”

Fed. R. Evid. 702 (Advisory Comm. Notes), Dr. Kaliebe lacks the experience to

qualify him to offer such opinions, and in the absence of relevant experience he

does not otherwise support these opinions with reliable facts and data.

      Dr. Kaliebe has insufficient relevant experience to support his social

contagion theory. Dr. Kaliebe has only diagnosed gender dysphoria once or twice

over the course of his career. U.S. Ex. 10 132:25-133:13. And, he has not

“performed any original research establishing that social media is a major

contributor to the rise in gender dysphoria in adolescents.” U.S. Ex. 10 at 154:10-

15. Thus, he is not “proposing to testify about matters growing naturally and


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directly out of research [he] ha[s] conducted independent of the litigation” and is

instead offering an opinion developed for purposes of testifying. Fed. R. Evid. 702

(Advisory Comm. Notes) (citing Daubert v. Merrell Dow Pharmaceuticals, Inc.,

43 F.3d 1311, 1317 (9th Cir. 1995)). But he has not developed that opinion in a

reliable way.

      In the absence of experience, Dr. Kaliebe does not otherwise support his

social contagion opinion. Dr. Kaliebe cites to studies documenting an increase in

the number of referrals for gender dysphoria, U.S. Ex. 9 ¶¶ 29-30; a now-

discredited study by Dr. Lisa Littman that “hypothesized,” based on the results of a

survey of lay people, that “‘it is plausible” that perceptions of gender dysphoria

could be “initiated, magnified, spread, and maintained’” via social contagion, id. ¶

42; a paper noting that gender dysphoria is prevalent among males with video

game or internet addiction, id. ¶ 46; Dr. Kaliebe’s personal anecdotes about what

he thinks “many psychiatrists in America” believe, id. ¶ 52; and informal polling at

medical conferences suggesting that some psychiatrists believe gender identity

may be “influenced by social media,” id. ¶ 53-54. But much of the research

supporting this theory has been discredited, including the research by Dr. Littman

that relies on the reports of parents recruited from anti-transgender websites. U.S.

Ex. 10 at 169:22-170:5; U.S. Ex. 7 at 139:21-141:8. In fact, the journal publishing

her work required an extensive correction because of its misstatements. See Defs.’


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MSJ Ex. 116 at S45. And, neither the American Psychiatric Association nor any

other reputable professional organization has recognized the “rapid-onset gender

dysphoria” central to Dr. Littman’s work as a distinct clinical condition or

diagnosis. U.S. Ex. 10 at 147:8-148:21; U.S. Ex. 2 at 78:11-79:19. Neither Dr.

Kaliebe’s expertise nor the factual basis he relies upon support his suggestion that

much of the rise in gender dysphoria is the product of peer influence spread

through social media.4

       Dr. Kaliebe’s views that medical associations’ approaches to

gender-affirming care have been “politicized” and are therefore suspect, U.S. Ex. 9

¶¶ 81-174, are similarly beyond the scope of his expertise and not otherwise

supported. The SOC-8 addresses issues of surgery and endocrinology, and Dr.

Kaliebe acknowledges he is not a surgeon or an expert in endocrinology. U.S. Ex.

10 at 230:19-231:16. Dr. Kaliebe’s expertise as a psychiatrist does not qualify him

to opine on the substance of such guidelines beyond his area of practice. E.g.,

Moore, 995 F.3d at 857; Lebron, 772 F.3d at 1368-69. Nor he is qualified to opine

on issues related to the development of clinical guidelines in a general sense untied

to his specific area of expertise, because his experience regarding the development

of clinical guidelines is limited to developing the first draft of a section of


4
 Moreover, because even Dr. Kaliebe recognizes that gender dysphoria is a legitimate diagnosis,
U.S. Ex. 10 at 146:23-25, his hypothesis that gender dysphoria is spread via social media is not
helpful to the trier of fact.

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psychiatric guidelines related to telepsychiatry in juvenile justice settings. U.S. Ex.

10 at 232:7-236:4. Again, in the absence of adequate relevant experience, he relies

on insufficient support. He asserts as a basis for his opinions that he “ha[s] been

told by a range of child psychiatrists” that they are unwilling to express their

viewpoints, U.S. Ex. 9 ¶ 99; that “[i]n my experience most physicians are wary” of

prescribing cross-sex hormones to minors, id. ¶ 87; and that “[m]ost psychiatrists

are willing to admit we don’t have enough research,” id. ¶ 148. Some of the

anecdotes are personal complaints about his peers’ repeated rejections of his work.

E.g., id. ¶¶ 103-105 (discussing rejected presentation proposals); U.S. Ex. 10 at

211:10-212:14 (discussing another rejected presentation proposal). Dr. Kaliebe’s

limited expertise and his cited support are not adequate bases for him to offer his

personal views about the “politicization” of gender-affirming care as expert

opinion.

      B. Dr. Kaliebe’s Opinions Regarding WPATH and HHS Are Unreliable
         and Unhelpful Because They Are Based on a Review of Emails
         Without Applying Any Particular Expertise or Methodology and Are
         Improper Motive Opinions.

      Dr. Kaliebe’s supplemental report is not the product of any reliable

methodology, as demonstrated by his failure to articulate any scientific

methodology, and instead is used as a vehicle to report emails produced in

discovery that may not otherwise be admissible. See, e.g., Marvel, 726 F.3d at 136

(“[A] party cannot call an expert simply as a conduit for introducing hearsay under

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the guise that the testifying expert used the hearsay as the basis of his testimony.”).

To the extent he offers opinions instead of merely reproducing or paraphrasing

hearsay, he offers inadmissible opinions about WPATH’s motives or intent when

developing SOC-8. See, e.g., Tillman, 96 F. Supp. 3d at 1326; Trasylol Prods.

Liab. Litig., 709 F. Supp. 2d 1323, 1338 (S.D. Fla. 2010).

      Most of Dr. Kaliebe’s supplemental report is dedicated to paragraphs that

reproduce sentences from emails connected by his narrative or his characterization

of the emails. E.g., U.S. Ex. 11 ¶¶ 16, 17, 20-23, 27, 39-41, 48, 49, 51, 58-62, 65-

71, 75-76, 81-83, 88-93, 96-98, 102-108, 110, 116, 130-37, 141-45, 151-52, 156-

57. In fact, some of the paragraphs are lengthy block quotes of emails with a

simple introductory sentence. E.g., id. ¶¶ 80, 84, 85, 86, 94, 95.

      But he applies no scientific methodology to this material, describing his

methodology for forming opinions about this material as “reflecting on the

documents,” U.S. Ex. 10 27:17-28:6, or reviewing material and reporting on its

contents, id. 38:1-15, 75:15-76:1, 79:11-17 (accepting characterization of his

“overall methodology” as reading documents and reporting on their contents),

84:9-16. This unscientific method is not consistent with the work he does in his

profession. Id. 97:4-10 (did not do a “psychiatric evaluation” of WPATH’s

leaders), 120:18-23 (does not review emails when treating patients), 236:10-22

(this is his first time reviewing an organization’s internal emails regarding the


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development of a standard of care), 19:8-10 (Dr. Kaliebe does not consider himself

to be a historian). As such, Dr. Kaliebe does not employ “the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field.”

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999). While an expert may

rely on hearsay, they may not serve as a mere “conduit for introducing hearsay”

when, as here, the expert did not bring his “expertise to bear.” Marvel, 726 F.3d at

135-36.

       Unsurprisingly, because Dr. Kaliebe applies no real expertise or

methodology, he arrives at opinions that would be within the scope of lay

knowledge—unhelpful opinions about intent or motive. E.g., Tillman, 96 F. Supp.

3d at 1326; Trasylol Prods., 709 F. Supp. 2d at 1338. For example, he opines that

organizations “intentionally misled the public.” E.g., U.S. Ex. 11 ¶ 24 (stating that

organizations “intentionally misled the public”). And he offers his opinions on

what WPATH’s “goals” were when developing the SOC-8. Id. ¶ 55 (“One [goal]

was to produce a document that would be useful to political and legal allies”). Such

motive opinions are the crux of his report and appear throughout it.5 The Court


5
  E.g., U.S. Ex. 11 ¶¶ 13 (“WPATH appears comfortable excluding scholars based on
ideology.”), 18 (suggesting that organizations did not “prize[] truth and truth telling”), 39 (“This
drastic reduction in mental healthcare requirements prior to transitioning appears intentional on
behalf of the SOC-8 authors.”), 40 (“at least some WPATH authors believe . . . ”), 54 (“[T]he
organization had other goals in crafting the standards”), 56 (“WPATH seeks to normalize and
depathologize”), 59 (“Authors of SOC-8 made their legal and political goals explicit”), 61 (“To
ensure its clinical guideline for medical professionals would be legally useful . . . .”), 72



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should exclude these unreliable and unhelpful opinions about motive as “outside

the bounds of appropriate expert testimony.” Tillman, 96 F. Supp. 3d at 1326.

VI.     This Court Should Exclude Dr. Laidlaw’s Opinions on Gender-Affirming
        Care for Minors and Its Potential Consequences, the Development of
        Clinical Guidelines for Gender-Affirming Care, and Plaintiffs’ Medical
        Treatment.

        Dr. Laidlaw is not qualified to opine on gender dysphoria in minors or the

development of the clinical guidelines for treating dysphoria because he lacks

relevant experience and expertise. His opinions regarding Plaintiffs’ medical

treatment should be excluded because they are not based on sufficient evidence to

support his opinions. Finally, the Court should exclude his opinions about

WPATH’s perceived bias because they are based on unreliable methods and are

unhelpful to the trier of fact.




(“statements of medical necessity are primarily vehicles to justify insurance payments”), 73
(“there seems to be an attempt to simply declare . . . .”), 87 (“WPATH considered changing the
statements solely to appease a political officer in the United States government.”), 98 (“WPATH
caved to outside political pressures . . . [and] treats it[s] Standards of Care as legislative or
political documents, designed to ensure access-to-care and insurance coverage . . . .”), 112
(“HHS has conducted an ideologically and politically driven campaign to enshrine affirming care
as clinical practice . . . .”), 149 (“HHS intentionally failed to [foster a diversity of perspectives]
when it held its listening sessions to determine a future research agenda”).

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      A. Dr. Laidlaw, an Endocrinologist Who Has Never Treated Anyone
         Under 19 for Gender Dysphoria, Is Not Qualified to Opine on Gender-
         Affirming Care for Minors or Its Potential Consequences or the
         Development of Clinical Guidelines Related to Gender-Affirming
         Care.

      Dr. Laidlaw is not “qualified to testify competently regarding the matters he

intends to address”—the provision of gender-affirming care to minors or the

development of clinical guidelines related to such care—because he has neither

provided gender-affirming care to individuals under 19 nor received formal

specialized training in such treatment. Frazier, 387 F.3d at 1260; see also C.P. ex

rel. Pritchard v. Blue Cross Blue Shield of Ill., No. 3:20-cv-06145-RJB, 2022 WL

17092846 at *4 (W.D. Wash. Nov. 21, 2022) (describing issue of Dr. Laidlaw’s

qualification as “a close question” in a bench trial because of his lack of experience

treating gender dysphoria). He lacks relevant experience, as he has never treated

anyone under the age of 19 for gender dysphoria. U.S. Ex. 12 ¶ 2; U.S. Ex. 13 at

55:1-24. He has never been “personally involved” in developing clinical

guidelines. Id. 89:18-20. And he has no formal specialized training related to the

medical treatment of transgender individuals. U.S. Ex. 13 at 30:4-7, 33:11-16,

40:2-11, 41:12-42:1, 42:17-45:14. His lack of relevant expertise renders him

unqualified to offer his opinions on gender-affirming care and its evidentiary

support, U.S. Ex. 12 ¶¶ 56-245, and the opinions in his second supplemental report




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about the development of clinical guidelines for the treatment of gender dysphoria.

U.S. Ex. 15 ¶¶ 6-163.

      B. Dr. Laidlaw’s Opinions About Private Plaintiffs’ Treatment Are Not
         Based on Sufficient Facts or Data to Be Reliable.

      Dr. Laidlaw’s supplemental report provides opinions about the Private

Plaintiffs’ treatment that are not “based on sufficient facts or data” because he did

not review a complete set of records or interview the Private Plaintiffs. Fed. R.

Evid. 702(b). The supplemental report summarizes the contents of Private

Plaintiffs’ medical records and provides Dr. Laidlaw’s opinion that “a compelling

case that the benefits of [gender-affirming care] outweigh the significant and

substantial risks has not been made for the three plaintiffs discussed.” U.S. Ex. 14

¶ 63. Dr. Laidlaw, however, formed that opinion without examining or speaking to

any Private Plaintiff or speaking to any of their treating physicians or healthcare

providers. U.S. Ex. 13 294:2-21, 293:13-18. Moreover, his report notes the many

documents he did not review. U.S. Ex. 14 ¶¶ 7(d) (“report of any DHR

investigation” had not been made available), 38 (“the necessary records for review

are missing”), 42 (“a particular letter from a counselor cannot be found in the

medical records”), 46 (a “complete record of an evaluation” by a particular

provider was not available), 56 (unable to assess “medical records for the

pediatrician or endocrinology office dated after 9/20/22”). Without reviewing a

complete set of records or interviewing the Private Plaintiffs, Dr. Laidlaw cannot

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form a complete opinion of the benefits and risks of their medical care. Thus, his

methodology of reviewing a limited set of medical records without any

examination of the Private Plaintiffs is not a sufficient basis for his ultimate

opinion that the benefits did not outweigh the risks for their treatment. See, e.g.,

Cooper, 259 F.3d at 203 (affirming district court’s exclusion of physician’s

opinion formed without a physical examination or interviewing the patient);

Haller, 598 F. Supp. 2d at 1294-95 (excluding physician’s opinion based only on

the review of medical records).

      C. Dr. Laidlaw’s Opinions Regarding the Purported “Political
         Influence” on WPATH Are Unreliable and Unhelpful Because They
         are Based on His Review of Emails Without Applying any Relevant
         Expertise or Methodology and Are Improper Motive Opinions.

      The opinions in Dr. Laidlaw’s second supplemental report are not admissible

because they are not the product of any reliable methodology and instead are used

as a vehicle to report emails produced in discovery that may not otherwise be

admissible. See, e.g., Marvel, 726 F.3d at 136 (“[A] party cannot call an expert

simply as a conduit for introducing hearsay under the guise that the testifying

expert used the hearsay as the basis of his testimony.”). Much of Dr. Laidlaw’s

second supplemental report consists of summaries or reproductions of emails or

other hearsay material without the application of any relevant expertise or

methodology. E.g., U.S. Ex. 15 ¶¶ 13-15, 37-39, 58, 60, 62, 63, 77, 79, 84, 85, 87-

88, 91, 93, 94, 99, 105, 107, 110-11, 118-24, 128-33, 138-45, 147-53, 155-58. As

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Dr. Laidlaw acknowledged, he lacks any experience in “reviewing emails and

other documents among members of an organization that developed a clinical

guideline.” U.S. Ex. 13 161:5-9. Like Dr. Kaliebe, because Dr. Laidlaw did not

bring any “expertise to bear” when reviewing the emails and hearsay, his report

impermissibly serves as a mere “conduit for introducing hearsay.” Marvel, 726

F.3d at 136.

       To the extent he offers opinions instead of merely reproducing or

paraphrasing hearsay, he offers unhelpful opinions about others’ motives or intent

that are not admissible expert opinions. E.g., Tillman, 96 F. Supp. 3d at 1326;

Trasylol Prods., 709 F. Supp. 2d at 1338. His report includes conjecture about why

entities took certain actions, including alleging that WPATH developed SOC-8

with the goals of “protect[ing] clinicians from liability” or ensuring that treatment

would fit insurers’ “medical necessity” requirements. U.S. Ex. 15 ¶¶ 6, 33. Much

of the discussion of WPATH includes such motive or intent opinions.6 In fact, the

conclusion of the second supplemental report is almost entirely motive or intent

opinions. See id. ¶¶ 160 (“WPATH prioritized their advocacy efforts with respect



6
  See U.S. Ex. 15 ¶¶ 41 (opining that WPATH excluded material because “the evidence was so
thin”), 50 (“SOC 8 authors were intentionally vague”), 76 (claiming that WPATH ignored
recommendations “in order to place gender affirmative therapy in a more positive light”), 112
(“There appears to be an unwillingness on the part of HHS to investigate.”), 114 (“WPATH
authors included, excluded, and altered content in the SOC-8 based on obvious political
considerations.”), 126 (“This appears to be a blatant attempt to ensure . . . .”), 158 (alleging an
action was taken “entirely because of political pressure”).

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to medical necessity, minimizing litigation, and advancing their political cause.”),

161 (asserting that “the decision to remove age limits” was done “because of

external political pressure”), and 162 (opining that SOC-8 guidelines are “a prime

example of activist-based recommendations for this condition”). The Court should

exclude these unreliable and unhelpful opinions as “outside the bounds of

appropriate expert testimony.” Tillman, 96 F. Supp. 3d at 1326.

VII. This Court Should Exclude Dr. Lappert’s Opinions in Their Entirety
     Because He Is Not Qualified to Opine on Any Relevant Topics.

      Dr. Lappert’s opinions on surgery are irrelevant and his limited surgical

expertise does not qualify him to opine on the issues of psychology, psychiatry,

and endocrinology involved in his opinions about the “continuum of care” and

“watchful waiting.” E.g., Moore, 995 F.3d at 857; Lebron, 772 F.3d at 1368-69. As

the Kadel court recognized, “Lappert is not qualified to render opinions about the

diagnosis of gender dysphoria, its possible causes, the efficacy of the DSM, the

efficacy of puberty blocking medication or hormone treatments, the appropriate

standard of informed consent for mental health professionals or endocrinologists,

or any opinion on the non-surgical treatments obtained by Plaintiffs.” 620 F. Supp.

3d at 368; see also Brandt, 677 F. Supp. 3d at 914-15 (Dr. Lappert does not meet

the requirements under Daubert because of his lack of experience related to gender

dysphoria and was “testifying more from a religious doctrinal standpoint rather

than that required of experts by Daubert.”). As previously discussed, issues related

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to surgery are irrelevant given that Plaintiffs are not challenging S.B. 184’s

prohibition on surgical interventions.

      Dr. Lappert’s report addresses some non-surgical issues, including the

notion of gender-affirming care as “a continuum of care” that starts with mental

health and hormonal treatment before proceeding inexorably toward surgery, U.S.

Ex. 16 ¶¶ 27-34, and the idea of “watchful waiting,” as an appropriate alternative

mental health treatment, id. ¶¶ 54-62. But Dr. Lappert is not a pediatrician,

endocrinologist, psychologist, or psychiatrist, U.S. Ex. 17 at 9:18-20, 12:8-10,

14:10-15, and is therefore not qualified to opine on those aspects of care

necessarily involved in his “continuum of care” and “watchful waiting” opinions.

He does not treat patients for mental health conditions or gender dysphoria. Id.

16:1-7; 24:8-10. Indeed, he has never prescribed puberty-blockers or cross-sex

hormones for the treatment of gender dysphoria, id. 29:17-22, or even performed

any gender affirmation surgery. U.S. Ex. 16 ¶ 2. In fact, the only treatments Dr.

Lappert claims to have provided to transgender individuals are laser hair removal

and skin care. U.S. Ex. 17 at 24:15-21. Dr. Lappert’s expertise in surgery does not

qualify him to opine on any relevant issues, and the Court should exclude his

testimony in its entirety.




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VIII. This Court Should Exclude Dr. Nangia’s Opinions Regarding
      Non-Psychiatric Treatments for Gender Dysphoria, the Ability of Minors
      to Assent or Consent to Gender-Affirming Care, and the Private
      Plaintiffs’ Medical Treatment.

      Dr. Nangia, as a psychiatrist without relevant expertise in the treatment of

gender dysphoria, is not qualified to offer expert testimony on non-psychiatric

treatments for gender dysphoria. In addition, her opinions on Private Plaintiffs’

medical treatments are not based on sufficient facts and data to be reliable because

she never examined or spoke with the Private Plaintiffs.

      A. Dr. Nangia Is Not Qualified to Opine on the Medical Treatment of
         Gender Dysphoria, Including the Ability of Minors to Assent or
         Consent to Gender-Affirming Care Because She Lacks Experience in
         the Non-Psychiatric Aspects of the Treatment of Gender Dysphoria.

      Dr. Nangia does not have the non-psychiatric medical expertise to qualify

her to offer opinions about aspects of the treatment of gender dysphoria beyond her

area of specialization and the ability of minors and their parents to consent or

assent to such treatment. E.g., Moore, 995 F.3d at 857; Lebron, 772 F.3d at 1368-

69. Dr. Nangia has never published or presented on the topics of gender dysphoria,

U.S. Ex. 19 at 38:14-23; patient assent, id. 73:19-74:1; or the topic of study

quality, id. 131:15-132:8. She is not an expert in endocrinology, id. 40:14-16, and

has never been involved in the development of clinical guidelines, id. 198:15-18.

Nonetheless, she seeks to opine on these matters that are beyond her expertise.

E.g., U.S. Ex. 18 ¶¶ 38-45 (“Medical Interventions and Associated Risks”), 61-114


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(“Informed Consent”), 115-135 (“Gender Dysphoria and Informed Consent in

Minors”), 154-62 (“Informed Consent is Not Attainable for Medical or Surgical

Transition in Minors”), 163-70 (“A Better and More Compassionate Approach is

Provision of Therapy Until Adulthood When Consent Can be Provided”). For

example, she seeks to opine that “almost one hundred percent of those taking

puberty blockers go on to receive cross-sex hormones,” which she asserts will

“render a patient infertile,” and that this risk of puberty blockers as a gateway to

more intensive treatment therefore must be fully appreciated by patients and

parents to provide informed consent. Id. ¶ 133. But her expertise as a psychiatrist

does not qualify her to opine on cross-sex hormones, puberty blockers, or more

intensive surgical treatments and the Court should exclude such opinions.

      B. Dr. Nangia’s Opinions About the Private Plaintiffs’ Medical
         Treatment Are Not Based on Sufficient Facts and Data to Be Reliable.

      Dr. Nangia’s review of a limited set of medical records without any

examination of the Private Plaintiffs is not a sufficient basis for her to offer what

should be individualized and context-specific opinions about the Private Plaintiffs’

treatment. Dr. Nangia’s supplemental report discusses the medical records of the

five Private Plaintiffs before offering child-specific opinions, U.S. Ex. 20 ¶¶ 10-13,

20, 28-31, 38-41, 47-50, and overall opinions applicable to each plaintiff. Id. ¶¶ 51-

55. But, as Dr. Nangia acknowledges, she has not “met the five individual

plaintiffs in this case, their parents, or any of the medical personnel involved in

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their medical care” and reviewed only those records available to her. Id. at 1. Yet,

for each Private Plaintiff she offers an opinion that the individual is not able to

provide informed consent or assent to medical transition. Id. ¶¶ 13, 20, 31, 41, 50.

These opinions are not the type of highly individualized opinions that would

constitute reliable expert evidence. Even Dr. Nangia recognizes that the assessment

of emotional and cognitive maturity necessary to assess an individual’s capacity to

consent “can only be performed by a mental health professional who has taken the

appropriate time and steps to provide a full biopsychosocial diagnostic evaluation

as well as adequate follow up.” Id. ¶ 53. As such, the review of medical records

alone is an insufficient basis for the opinions she offers. See, e.g., Cooper, 259

F.3d at 203 (affirming district court’s exclusion of physician’s opinion formed

without a physical examination or interviewing the patient); Haller, 598 F. Supp.

2d at 1294-95 (excluding physician’s opinion based only on the review of medical

records).

IX.     Dr. Thompson, an Obstetrician Gynecologist with No Experience in
        Fertility Preservation for Individuals Receiving Gender-Affirming Care,
        Is Not Qualified to Opine on Hormonal Treatment or Other Medical
        Issues Beyond Her Area of Expertise.

        Dr. Thompson is not qualified to opine on the effects of hormonal treatments

on pediatric patients or the topic of fertility preservation for minors who receive

gender-affirming care because she has no experience providing such treatment.

See, e.g., Higgins v. Koch Dev. Corp., 794 F.3d 697, 705 (7th Cir. 2015)

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(excluding opinions of pulmonologist who had not previously treated the specific

condition involved in that case); Harvey v. Novartis Pharmaceutical Corp., 894 F.

Supp. 2d 1206, 1210-12 (N.D. Ala. 2012) (an “experienced maxillofacial surgeon”

was not qualified to opine on the cause of a particular condition of the jaw when he

has never researched the issue and his practice does not involve assessing the cause

of that condition); Lowery v. Sanofi-Aventis LLC, No. 7:18-cv-376, 2021 WL

872620 at *7-8 (N.D. Ala. Mar. 9, 2021) (excluding opinion of orthopedic surgeon

about potential orthopedic causes of injury to an individual’s knee when he had

never performed any orthopedic procedure on a patient’s knee). Dr. Thompson’s

current practice is taking care of patients in an acute hospital setting, U.S. Ex. 23 at

12:11-14, and she has only treated two patients who identify as transgender in the

context of pregnancy and birth, id. 16:20-17:3, 18:4-22, both of whom were

pregnant at the time. Id. 20:4-7. She has no experience providing gender-affirming

care, id. 9:17-19, and has never prescribed puberty blockers for an adolescent

patient, id. 10:12-14. She has never published any articles or made any

presentations about gender dysphoria or its treatment. Id. 27:4-32:6. Dr. Thompson

has never attempted to preserve the fertility of a child in early puberty seeking

gender-affirming care. Id. 10:15-18. Nevertheless, she attempts to opine on the

effects of hormonal treatments on minors, U.S. Ex. 22 ¶¶ 59-87, and the topic of

fertility preservation for minors who undergo gender-affirming care, id. ¶¶ 88-120,


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despite her lack of relevant expertise. This Court should not permit her to opine on

the effects of hormonal treatments on pediatric patients or the topic of fertility

preservation for minors who receive gender-affirming care.

                                   CONCLUSION

      For these reasons, the United States requests that the Court exclude the

above-referenced opinions by Defendants’ experts.

Dated: June 24, 2024                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on June 24, 2024, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to counsel of record.

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